 

IN THE SUPERIOR COURT FOR THE STATE OF ALASKA
THIRD JUDICIAL DISTRICT AT ANCHORAGE
PETER M. JOHNSON and LISA
JOHNSON, husband and wife,
Plaintiffs,
v.
HOME DEPOT USA, INC. a foreign
corporation, and JOHN DOE I and
Il, individuals,

Defendants. Case No. 3AN-08-11371 CI

 

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NOTICE OF REMDVAL TO UNITED STATES DISTRICT COURT

Please take notice that pursuant to the provisions
of 28 U.S.C. § l446(d) the Notice of Removal from State Court,
a copy of which is attached hereto as Exhibit A, effecting
removal for all purposes of the above~captioned action, Case
No. 3AN-08~1137l CI, to the United States District Court for
the District of Alaska from the Superior Court for the State
of Alaska, Third Judicial District at Anchorage, which was
filed by the defendant, Home Depot USA, Inc., on November 18,

2008.

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DATED this /%jday of November, 2008, Anchorager

Alaska.

By:

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and
correct copy of the fore oing was
served by mail this fff\~ day of
November, 2008 on:

Kenneth A. Norsworthy

LAW OFFICE OF KENNETH NORSWORTHY
733 W. Fourth Avenue, Suite 400
Anchorage, Alaska 99504

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RICHMOND & QUINN

Attorneys for Defendant
Home Depot USA, Inc.

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William A. Earnhart
Alaska Bar No. 9411099

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